         Case 4:15-cv-02075-JSW Document 74 Filed 11/04/16 Page 1 of 1




                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                CIVIL MINUTE ORDER

DATE: November 4, 2016                                              Time in Court: 32 minutes

JUDGE: JEFFREY S. WHITE                                    Court Reporter: Diane Skillman

Courtroom Deputy: Jennifer Ottolini


CASE NO.: C-15-2075 JSW
TITLE: 1049 Market Street LLC v. City and County of San Francisco, et al.,


COUNSEL FOR PLAINTIFF:                             COUNSEL FOR DEFENDANT:
Andrew Zacks                                       Kristen Jensen
Emily Brough


PROCEEDINGS:          Motion to Dismiss


RESULTS:       The Court tentatively DENIES Plaintiff’s motion to dismiss the state law claims.

               The Court heard argument from counsel.
               The motion is taken under submission.
               A written ruling shall issue.
